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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION

Arthur Hardy,                        )
                                     )
                                     )
                       Plaintiff,    )
                                     )
               -vs-                  ) No. 16-cv-5561
                                     )
Thomas Dart, Sheriff of Cook         ) Judge Alonso
County, and Cook County,             )
                                     )
                      Defendants.    )


                       STIPULATION TO DISMISS WITH
                      PREJUDICE AND WITHOUT COSTS
      It is stipulated between the parties, by their respective undersigned

counsel, that this action is dismissed with prejudice and without costs

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

                                     /s/ Patrick W. Morrissey
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                                     An attorney for plaintiff

                                     /s/ Allyson West (with consent)
                                     Allyson West, ASA
                                     500 Richard J. Daley Center
                                     Chicago, IL 60602
                                     An attorney for defendant Cook County
                                     and defendant Sheriff
